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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     PANGEA LEGAL SERVICES, et al.,                     Case No. 20-cv-07721-SI
                                   8                     Plaintiffs,
                                                                                            ORDER DENYING MOTIONS TO
                                   9               v.                                       RELATE
                                  10     U.S. DEPARTMENT OF HOMELAND                        Re: Dkt. Nos. 84, 85
                                         SECURITY, et al.,
                                  11
                                                         Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          On December 21, 2020, two motions to relate were filed seeking to relate two actions to the

                                  14   one captioned above, namely: 20-cv-9253 (Pangea II) and 20-cv-9258 (the Immigration Equality

                                  15   Matter). Dkt Nos. 84 and 85. On December 22, 2020, defendants opposed the motions arguing,

                                  16   among other things, that the cases should not be related because the asylum rule challenged in the

                                  17   instant action is wholly separate and distinct from the rule challenged in Pangea II and the

                                  18   Immigration and Equality Matter. Dkt. No. 86 at 31 (“The present action does not challenge [the

                                  19   rule discussed in Pangea II and the Immigration Equality Matter]… Rather it challenges an entirely

                                  20   different and narrower rule.”).

                                  21          The Court agrees with defendants. The motions to relate are DENIED.

                                  22

                                  23          IT IS SO ORDERED.

                                  24   Dated: December 23, 2020

                                  25                                                    ______________________________________
                                                                                        SUSAN ILLSTON
                                  26                                                    United States District Judge
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                                                  For ease of reference, this is the ECF branded page number.
